

Upfront Megatainment, Inc. v Thiam (2023 NY Slip Op 04954)





Upfront Megatainment, Inc. v Thiam


2023 NY Slip Op 04954


Decided on October 03, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 03, 2023

Before: Oing, J.P., Friedman, Kennedy, Shulman, Pitt-Burke, JJ. 


Index No. 652156/21 Appeal No. 704&amp;M-03759 Case No. 2022-05221 

[*1]Upfront Megatainment, Inc., Formally Known as Upfront Entertainment, Inc., et al., Plaintiffs-Respondents,
vAliune Thiam, Professionally Known as Akon, Defendant, Manson Johnson Conner PLLC, Nonparty Appellant.


Napoli Shkolnik PLLC, Melville (Brett Bustamante of counsel), for appellant.



Order, Supreme Court, New York County (Arthur F. Engoron, J.), entered July 18, 2022, which granted plaintiffs' motion to vacate nonparty Manson Johnson Conner PLLC's charging lien, unanimously reversed, on the law, with costs, the motion denied, the lien reinstated, and the matter remanded for an evidentiary hearing on whether the Manson firm was terminated for cause.
In light of this Court's decision regarding plaintiffs' co-counsel, Napoli Shkolnik PLLC, on the same facts, we determine that the Manson firm established prima facie entitlement to a charging lien under Judiciary Law § 475 (see Upfront Megatainment, Inc. v Thiam, 217 AD3d 595 [1st Dept 2023]). Although the Manson firm did not represent plaintiffs in the instant action, "no party disputes that it was retained to negotiate the settlement agreement on which the action is based, and that its retainer agreement with plaintiffs entitled it to payments 'for any amounts recovered' under the settlement agreement" (id. at 596).
As to plaintiffs' claim that the Manson firm was terminated for cause, based on the reasons stated in our decision in Napoli Shkolnik's appeal (id.), we remand for an evidentiary hearing on the issue.	M-2023-03759 — Upfront Megatainment, Inc., et al. v Thiam
Motion to strike reply brief, denied.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 3, 2023








